Case 2:06-cr-00210-LDG-VCF   Document 444   Filed 07/16/07   Page 1 of 8
Case 2:06-cr-00210-LDG-VCF   Document 444   Filed 07/16/07   Page 2 of 8
Case 2:06-cr-00210-LDG-VCF   Document 444   Filed 07/16/07   Page 3 of 8
Case 2:06-cr-00210-LDG-VCF   Document 444   Filed 07/16/07   Page 4 of 8
Case 2:06-cr-00210-LDG-VCF   Document 444   Filed 07/16/07   Page 5 of 8
Case 2:06-cr-00210-LDG-VCF   Document 444   Filed 07/16/07   Page 6 of 8
Case 2:06-cr-00210-LDG-VCF   Document 444   Filed 07/16/07   Page 7 of 8
Case 2:06-cr-00210-LDG-VCF   Document 444   Filed 07/16/07   Page 8 of 8
